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IN THE UNITED STATES I)ISTRICT coURT 054/o `~~
FoR THE WESTERN DtSTRICT oF TENNESSEE "P<°g " §§
EASTERN DIVISION ,?:@5;5* /> 3
‘5 53 ;:O¢` § @/,>;Q,i `9
CHARLES R. DAILEY, sR., and wife “'¢“ /;V_ 67 051}/3/@
LINDA L. DAILEY, ' dial 515 ,r
;/
Plaintiffs,
VS.
Case No.: 1:05-cv-01083-.]DT-sta
MERCK & Co., INC.; BECKY

CAPPS TEAL, DPH; EXPRESS
SCRIPTS, INC.; SARAH C.
CAPOCACCIA; STEPHANIE B.
(BUCK) ISON; COUR'I`NEY SHAY
(INGRAM) McMAKIN; VINAY
KRISHAN SOOD; MELISSA CAROL
(McALLISTER) BARNES; MICHAEL
RICHARDS; PATRICIA
BLASINGAME and SCOTT EVANS,

Defendants

 

 

ORDER ON MOTION FOR SPECIAL ADMISSION PRO HAC VICE
J ames L. (Larry) Wright has moved for special admission pro hac vice in this action on
behalf of Plaintiffs. James L. (Larry) Wright is licensed to practice law in good standing before
the Texas Supreme Court. For good cause shown, that motion is granted lt is hereby ordered that
Mr. Wright be admitted pro hac vice as counsel for Plaintiffs and may actively participate in any

trial, pre-trial and post-trial proceedings before this court.

lT lS SO ORDERED.

)~/ ‘
Signed this the 202 /day of QBM ,2005.

UNI STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 1:05-CV-01083 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

